  1   LEADER-PICONE & YOUNG, LLP
      MALCOLM LEADER-PICONE (State Bar No. 104620)
  2   1970 BROADWAY, SUITE 1030
      OAKLAND, CA 94612
  3   TELEPHONE: 510-444-2404
      FACSIMILE: 510-444-1291
  4   EMAIL:     mlp@leader-picone.com
  5   Attorneys for Claimant
      JARED HAWKLEY
  6

  7
                               UNITED STATES BANKRUPTCY COURT
  8
                               NORTHERN DISTRICT OF CALIFORNIA
  9
                                     SAN FRANCISCO DIVISION
 10

 11   In re                                      )   Case No. 16-30063
                                                 )
 12   YELLOW CAB COOPERATIVE, INC.               )   Chapter 11
 13           Debtor,                            )
                                                 )   MOTION FOR LEAVE TO FILE LATE
 14   Tax I.D. No.:XX-XXX-7102                   )   CLAIM AND MEMORANDUM IN
                                                 )   SUPPORT THEREOF.
 15                                              )
                                                 )   Date: July 22, 2016
 16
                                                 )   Time: 10:00 a.m.
 17                                              )   Judge: Hon. Dennis Montali
                                                 )          450 Golden Gate Avenue
 18                                              )          Courtroom 17, 16th Floor
                                                 )          San Francisco, CA 94102
 19
                                                 )
 20
                                                 )
      ////
 21

 22   ////

 23
      ////
 24

 25

 26

 27

 28

      MOTION FOR LEAVE TO FILE LATE CLAIM                                          Case No. 16-30063
Case: 16-30063     Doc# 203    Filed: 06/15/16   Entered: 06/15/16 15:59:42     Page 1 of 9
  1
                                                 MEMORANDUM
  2

  3
                                    I.         PRELIMINARY STATEMENT.

  4
                     Claimant Jared Hawkley was injured by a taxi belonging to the debtor, Yellow Cab

  5
      Collective, Inc. (“Yellow Cab”) on April 30, 2014. Despite the fact that Mr. Hawkley had submitted a

  6
      claim for the accident to Yellow Cab in May of 2014, Yellow Cab did not schedule Mr. Hawkley’s

  7
      claim and did not give Mr. Hawkley notice of the filing of its Chapter 11 case. Most importantly,

  8
      Yellow Cab did not give Mr. Hawkley notice of the claims bar date of May 16, 2016 until after the bar

  9
      date had already past. Consequently, Mr. Hawkley is seeking leave to file a late claim, in the interests

 10
      of justice and to avoid violation of Mr. Hawkley’s right to due process.

 11
                                         II.    STATEMENT OF FACTS.

 12
                     The following facts are taken from the Declaration of Frank Liuzzi (“Liuzzi
 13
      Declaration” or “Liuzzi Decl.”), who is Mr. Hawkley’s state court counsel, submitted herewith:
 14
                     1.      On April 30, 2014, at the intersection of Terry A Francois Boulevard and China
 15
      Basin Street, in the City and County of San Francisco, a Yellow Cab driven by Robert G. Miller
 16
      negligently collided with Jared Hawkley, who was lawfully riding his bicycle, causing severe physical
 17
      injuries to Mr. Hawkley. Liuzzi Decl., ¶ 2.
 18
                     2.      On May 7, 2014, just a week after the accident, Frye Claims Consultation &
 19
      Administration, Inc. of Hayward, California (“Frye Claims”), the claims administrator for Yellow Cab
 20
      contacted Mr. Hawkley to discuss Mr. Hawkley’s claim for damages arising out of the April 30, 2014
 21
      accident. Attached as Exhibit “A” to the Liuzzi Declaration are true and correct copies of
 22
      correspondence between Mr. Hawkley and Frye Claims from May 7, 2014 through December 31,
 23
      2014, reflecting Yellow Cab’s knowledge of Mr. Hawkley’s claim. Liuzzi Decl., ¶ 3.
 24
                     3.      On January 22, 2016, Yellow Cab filed its Chapter 11 Voluntary Petition.
 25
      Docket, Item 1.
 26
                     4.      On March 3, 2016, Mr. Hawkley retained Frank Liuzzi and the firm of Liuzzi,
 27
      Murphy, Solomon Churton & Hale, LLP to represent him with respect to his personal injury claim
 28
      MOTION FOR LEAVE TO FILE LATE CLAIM                                                  Case No. 16-30063
                                                         -1-
Case: 16-30063      Doc# 203      Filed: 06/15/16    Entered: 06/15/16 15:59:42        Page 2 of 9
  1
      against Yellow Cab and Robert G. Miller. Liuzzi Decl., ¶ 4.
  2
                     5.     On March 28, 2016, Mr. Liuzzi filed a personal injury action against Yellow
  3
      Cab and Robert G. Miller in the San Francisco Superior Court entitled Jared Hawkley v. Robert G.
  4
      Miller, Yellow Cab Cooperative, Inc., et al., San Francisco Superior Court, Case No.: CGC-16-
  5
      551190. At the time the complaint was filed, Mr. Liuzzi and Mr. Hawkley had no knowledge that
  6
      Yellow Cab had filed for Chapter 11 bankruptcy protection. Liuzzi Decl., ¶ 5 and Exh. “B”.
  7
                     6.     On April 1, 2016, Mr. Liuzzi spoke to Rico Maestri of Frye Claims and advised
  8
      Mr. Maestri of the filing of the lawsuit. In this conversation with Mr. Liuzzi on April 1, 2016, Mr.
  9
      Maestri advised Mr. Liuzzi that Yellow Cab was in bankruptcy, but that Frye Claims was handling
 10
      what he called the “run off claims” for Yellow Cab. Mr. Maestri requested that Mr. Liuzzi send him a
 11
      settlement demand on behalf of Mr. Hawkley. Mr. Maestri explained to Mr. Liuzzi that, once he
 12
      receives a settlement demand, he forwards it to Yellow Cab, who then will advise him if the claim
 13
      falls under the bankruptcy or not. Mr. Maestri told Mr. Liuzzi that there was no way for Frye Claims
 14
      to know whether the claim fell under the bankruptcy until they are presented with a demand. Mr.
 15
      Maestri insisted that he was not aware of how Yellow Cab determined whether or not its bankruptcy
 16
      impacted a particular claim. Mr. Liuzzi, being a personal injury attorney with no familiarity with
 17
      bankruptcy procedures, accepted what Mr. Maestri was telling him. Liuzzi Decl., ¶ 6.
 18
                     7.     During the April 1, 2016 conversation Mr. Maestri did not advise Mr. Liuzzi
 19
      that there was, or had been, a claims bar date fixed in the Yellow Cab bankruptcy. Liuzzi Decl., ¶ 7.
 20
                     8.     On May 31, 2016, Mr. Liuzzi sent a settlement demand to Mr. Maestri via
 21
      email; to which Mr. Maestri responded by email on June 3, 2016, with a letter in which Frye Claims
 22
      informed Mr. Liuzzi for the first time about the Yellow Cab bankruptcy. Mr. Maestri’s letter included
 23
      a copy of the Notice of Chapter 11 Bankruptcy Case, showing a deadline to file proof of claim on May
 24
      16, 2016. Liuzzi Decl., ¶ 8 and Exh. “C”.
 25
      ////
 26
      ////
 27

 28
      MOTION FOR LEAVE TO FILE LATE CLAIM                                                 Case No. 16-30063
                                                         -2-
Case: 16-30063      Doc# 203      Filed: 06/15/16    Entered: 06/15/16 15:59:42        Page 3 of 9
  1
                                             III.      ARGUMENT.
  2
                                     A.     MR. HAWKLEY WAS NOT GIVEN NOTICE
  3                                         OF THE CLAIMS BAR DATE AND
                                            SHOULD BE GRANTED LEAVE TO FILE
  4                                         HIS CLAIM.
  5                  The Bankruptcy Code provides that all creditors must receive 20 days notice of, among

  6   other things, the meeting of creditors (which establishes the 90 day period for filing claims in a

  7   chapter 7, 12 or 13 case) and the time for filing claims in a chapter 9 or 11 case but it does not define

  8   the term “notice.” Fed. R. Bankr. P. 2002. Although notice is not defined by the Bankruptcy Code,

  9   bankruptcy courts “sensibly assume that the general norms of fair notice, as set forth in Mullane v.

 10   Central Hanover Bank & Trust Co., 339 U.S. 306, 70 S.Ct. 652, 94 L.Ed. 865 (1950); Tulsa

 11   Professional Collection Services, Inc. v. Pope, 485 U.S. 478, 489-91, 108 S.Ct. 1340, 99 L.Ed.2d 565

 12   (1988); Mennonite Bd. of Missions v. Adams, 462 U.S. 791, 797-800, 103 S.Ct. 2706, 77 L.Ed.2d 180

 13   (1983), and other such cases, apply to bankruptcy as to other settings in which a person’s legal right is

 14   extinguished if he fails to respond to a pleading.” Fogel v. Zell, 221 F.3d 955, 962 (7th Cir. 2000).

 15                  At least six Circuit Court of Appeals, including the Ninth Circuit, abide by the majority

 16   rule that a creditor has a right to formal notice of the bankruptcy proceedings before his claims are

 17   barred forever. See Paging Network, Inc. v. Nationwide Paging, Inc., 534 F.3d 76, 83 (1st Cir. 2008);

 18   In re Harbor Tank Storage Co., 385 F.2d 111, 115 (3d Cir. 1967); Fogel v. Zell, 221 F.3d 955, 964

 19   (7th Cir. 2000); In re Maya Constr. Co., 78 F.3d 1395, 1399 (9th Cir. 1996); In re Unioil, 948 F.2d 678,

 20   684 (10th Cir. 1991); In re Spring Valley Farms, Inc., 863 F.2d 832, 835 (11th Cir. 1989); contra, In re

 21   Christopher, 28 F.3d 512, 518 (5th Cir. 1994). As the Ninth Circuit has explained, “if a known

 22   contingent creditor is not given formal notice, he is not bound by an order discharging the

 23   bankruptcy’s obligations . . . . The fact that a creditor has actual knowledge that a Chapter 11

 24   bankruptcy proceeding is going forward involving a debtor does not obviate the need for notice.” In re

 25   Maya Constr. Co., 78 F.3d at 1399.

 26                  The Supreme Court has held that “[a]n elementary and fundamental requirement of due

 27   process in any proceeding which is to be accorded finality is notice reasonably calculated, under all

 28
      MOTION FOR LEAVE TO FILE LATE CLAIM                                                   Case No. 16-30063
                                                          -3-
Case: 16-30063      Doc# 203      Filed: 06/15/16     Entered: 06/15/16 15:59:42        Page 4 of 9
  1
      the circumstances, to apprise interested parties of the pendency of the action and afford them an
  2
      opportunity to present their objections.” Mullane v. Central Hanover Bank & Trust Co., 339 U.S. 306,
  3
      314 (1950).
  4
                     As the Ninth Circuit held in In re Maya Constr. Co., 78 F.3d at 1398-1399, “[Yellow
  5
      Cab] was required to file a list of all creditors and a schedule of liabilities and assets. 11 U.S.C. §
  6
      521(1). The debtor lists the creditors, so it is the debtor’s knowledge of a creditor, not the creditor's
  7
      knowledge of his claim, which controls whether the debtor has a duty to list that creditor.”
  8
                     As the Supreme Court explained in New York v. New York, New Haven & Hartford
  9
      R.R. Co., 344 U.S. 293, 297 (1953):
 10
                     Nor can the bar order against New York be sustained because of the city’s
 11
                     knowledge that reorganization of the railroad was taking place in the court. The
                     argument is that such knowledge puts a duty on the creditors to inquire for
 12
                     themselves about possible court orders limiting the time for filing claims. But
                     even creditors who have knowledge of a reorganization have a right to assume
 13
                     that the statutory ‘reasonable notice’ will be given them before their claims are
                     forever barred. . . .
 14                  The statutory command for notice embodies a basic principle of justice - that a
                     reasonable opportunity to be heard must precede judicial denial of a party’s
 15                  claimed rights.” Id. at 296-97.
 16                  Here, Yellow Cab had notice of Mr. Hawkley’s claim in May 2014, well before its

 17   bankruptcy, yet it did not list Mr. Hawkley as a creditor so that the Court did not send Mr. Hawkley

 18   notice of the bankruptcy filing and the claims bar date. Lack of knowledge of the bankruptcy and of

 19   the bar date has been held to constitute “excusable neglect so as to warrant extension of the bar date in

 20   a Chapter 11 case. In re First Magnus Fin. Corp., 415 B.R. 416, 422-423 (Bankr. D. Ariz. 2009),

 21   citing In re Dix, 95 B.R. 134 (9th Cir. BAP 1988). As explained in In re First Magnus Fin. Corp.,

 22   supra:

 23
                     In chapter 11 cases, “known” creditors are entitled to formal notice of the
                     bankruptcy and claims date. See In re Maya, 78 F.3d 1395, 1398 (9th Cir. 1996),
 24
                     cert. denied, 519 U.S. 862, 117 S. Ct. 168, 136 L. Ed. 2d 110 (1996). A debtor
                     must list all creditors whose identity and claim are known. 11 U.S.C. § 521(a).
 25
                     Even contingent and disputed creditors must be scheduled, and the fact that
                     there might be thousands of creditors does not lessen the debtor’s duty to file a
 26
                     list of creditors. See In re Circle K Corp., 198 B.R. 784, 790 (Bankr. D. Ariz.
                     1996). “The burden is on debtor to give formal notice. A creditor who is not
 27
                     given notice, even with actual knowledge of the case, does not have a duty to
                     investigate and inject himself into the proceedings.” Id. at 789 (citing Maya
 28
      MOTION FOR LEAVE TO FILE LATE CLAIM                                                     Case No. 16-30063
                                                           -4-
Case: 16-30063      Doc# 203       Filed: 06/15/16     Entered: 06/15/16 15:59:42         Page 5 of 9
  1                   Constr., 78 F.3d at 1399). 415 B.R. at 422-423.
  2                   Accordingly, where, as here, the creditor was not provided notice of the bankruptcy and

  3   bar date in time to file a timely claim, the Court must grant leave to file a late claim under Bankruptcy

  4   Rule 3003(c)(3).

  5                                         IV.      CONCLUSION.

  6                   For the foregoing reasons, Mr. Hawkley respectfully asks the Court to grant him leave

  7   to file a late claim.

  8   DATED: June 15, 2016.                         LEADER-PICONE & YOUNG,        LLP

  9
                                                    BY: /s/ Malcolm Leader-Picone (104620)
 10                                                   MALCOLM LEADER-PICONE
                                                      Attorneys for Claimant
 11                                                   JARED HAWKLEY
 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28
      MOTION FOR LEAVE TO FILE LATE CLAIM                                                  Case No. 16-30063
                                                         -5-
Case: 16-30063       Doc# 203     Filed: 06/15/16     Entered: 06/15/16 15:59:42        Page 6 of 9
  1
                                        PROOF OF SERVICE BY MAIL
  2

  3
                     I, Malcolm Leader-Picone, declare that:

  4
                     I am employed in the County of Alameda, California. I am over the age of eighteen

  5
      years and not a party to the within action. My business address is 1970 Broadway, Suite 1030

  6
      Oakland, CA 94612. On June 15, 2016, I served the following document(s) entitled:

  7       MOTION FOR LEAVE TO FILE LATE CLAIM AND MEMORANDUM IN SUPPORT
                                     THEREOF.
  8

  9
      upon the attached Service List by first class mail, pursuant to the Court’s January 28, 2016 Order

 10
      limiting notice, as set forth in the Notice of Procedures to Limit Notice.

 11                  I declare under penalty of perjury under the laws of the State of California that the
 12   foregoing is true and correct. Executed at Oakland, California, on June 15, 2016.
 13                                                 /s/ Malcolm Leader-Picone (104620)
 14
                                                           Malcolm Leader-Picone

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28

      PROOF OF SERVICE                                                                     Case No. 16-30063
Case: 16-30063      Doc# 203      Filed: 06/15/16     Entered: 06/15/16 15:59:42       Page 7 of 9
 1   In re Yellow Cab Cooperative, Inc.
     Case No. 16-30063
 2
                                                 Service List
 3
     U.S. Trustee:                                       Counsel for Committee of Unsecured Creditors:
 4   Lynette C. Kelly, Esq.                              John D. Fiero
 5   Office of The United States Trustee                 John W. Lucas
     1301 Clay Street, Suite 690N                        Jason Rosell
 6   Oakland, CA 94612-5231                              PACHULSKI STANG ZIEHL & JONES LLP
                                                         150 California Street, 15th Floor
 7                                                       San Francisco, CA 94111-4500

 8   Internal Revenue Service                            Internal Revenue Service
     Centralized Insolvency Operation                    Attention: Insolvency — 1400S
 9   P.O. Box 7436                                       1301 Clay Street
     Philadelphia, PA 19101-7346                         Oakland, CA 94612-5217
10
                                                Special Notice
11
     Counsel for Secured Creditor First Republic Bank:   Counsel for Ida Christina Cruz Fua:
12   Edward J. Tredinnick, Esq.                          David J. Cook
     Greene Radovsky Maloney & Share, LLP                Cook Collection Attorneys
13   Four Embarcadero Center, Suite 4000                 165 Fell Street
     San Francisco, CA 94111                             San Francisco, CA 94102
14
     Counsel for Ida Christina Cruz Fua:                 John A. Vos
15   Todd P. Emanuel, Esq.                               Attorney at Law
     702 Marshall Street, Suite 400                      1430 Lincoln Avenue
16   Redwood City, CA 94063                              San Rafael, CA 94901

17   Counsel for AmTrust North America, Inc.:            Counsel for Ralph Oliverio:
     Alan C. Hochheiser                                  Jennifer C. Hayes
18   Buckley King LPA                                    Dentons US LLP
     1400 Fifth Third Center                             One Market Plaza
19   600 Superior Avenue East                            Spear Tower, 24th Floor
     Cleveland, OH 44114-2652                            San Francisco, CA 94105
20
     Counsel for Ford Motor Credit Company:              Counsel for First National Bank of Northern
21   Austin P. Nagel                                     California:
     Law Offices of Austin P. Nagel                      Dennis D. Miller
22   111 Deerwood Road, Suite 305                        Lubin Olson & Niewiadomski LLP
     San Ramon, CA 94583                                 600 Montgomery Street, 14th Floor
23
                                                         San Francisco, CA 94111
24
     Counsel for Creditor Tanya Renee Thienngern:        Counsel for Tire Sales & Leasing Company, Inc.:
25   Richard A. Luftman                                  Dominique A. Sopko
     Nielsen & Rogers LLP                                Diemer, Whitman & Cardosi, LLP
26   21700 Oxnard Street, 7th Floor                      75 E. Santa Clara Street, #290
     Woodland Hills, CA 91367                            San Jose, CA 95113
27

28


Case: 16-30063    Doc# 203       Filed: 06/15/16
                                               Page 1Entered:
                                                      of 2    06/15/16 15:59:42        Page 8 of 9
     Counsel for Creditor Tanya Renee Thienngern:           Counsel for Creditor Tanya Renee Thienngern:
 1   Lawrence E. Biegel                                     Anabelle Wilson
 2   The Biegel Law Firm                                    A.R. Wilson & Associates
     2801 Monterey-Salinas Highway, Suite A                 P.O. Box 90157
 3   Monterey, CA 93940                                     Pasadena, CA 91107

 4   Counsel for United Taxicab Workers, Marshall           Counsel for Creditor Tanya Renee Thienngern:
     Childs, David Barlow and David Schneider:              Peter Koenig
 5   Jonathan Siegel, Esq.                                  Walker Hamilton & Koenig LLP
     Siegel Lewitter Malkani                                50 Francisco Street, Suite 460
 6   1939 Harrison Street, Suite 307                        San Francisco, CA 94133
     Oakland, CA 94612
 7
     Counsel for Vincent Lee:                               Counsel for Creditor Tanya Renee Thienngern:
 8   Scott Jordan                                           James M. Lauderdale
     Dunning Law Firm                                       Lauderdale Law Offices
 9   2000 Van Ness Avenue, Suite 602                        150 Carmelito Avenue
     San Francisco, CA 94109                                Monterey, CA 93940
10
     Southern Counties Oil Co.                              Bankruptcy Administration
11   Attn: Robert W. Bollar, Corporate Sec.                 GE Capital Information Technology Solutions
     1800 W. Katella Avenue, Suite 400                      c/o A Ricoh USA Program fdba IKON Financial
12   Orange, CA 92867                                       Services
                                                            1738 Bass Road
13                                                          P.O. Box 13708
                                                            Macon, GA 31208-3708
14
     Counsel for SF Industrial, LLC:                        Counsel for Taxi Property Company, LLC:
15   A. Kenneth Hennesay                                    John H. MacConaghy
     Allen Matkins Leck Gamble                              MacConaghy & Barnier, PLC
16   1900 Main Street, Fifth Floor                          645 First Street West, Suite D
     Irvine, CA 92614                                       Sonoma, CA 95476
17

18

19

20

21

22

23

24

25

26

27

28

                                              Page 2 of 2
Case: 16-30063    Doc# 203      Filed: 06/15/16        Entered: 06/15/16 15:59:42       Page 9 of 9
